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 1                                                                         Honorable Robert S. Lasnik

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 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9
     UNITED STATES OF AMERICA,
10                                                       No. CR14-059 RSL
                                      Plaintiff,
11                                                       ORDER GRANTING
            v.                                           WITHDRAWAL AND
12                                                       SUBSTITUTION OF COUNSEL
     MAYRA SOLIS-SANTOS,                                 FOR DEFENDANT SOLIS-SANTOS
13
                                    Defendant.
14

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16          Having reviewed Defendant Mayra Solis-Santos’ Stipulated Motion for Withdrawal

17   and Substitution of Counsel,

18          IT IS HEREBY ORDERED that said motion is GRANTED; Michael Nance is

19   permitted to withdraw and Jeffery Robinson and Joseph Campagna of Schroeter, Goldmark,

20   & Bender are substituted as counsel for Defendant Solis-Santos.

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     ORDER GRANTING WITHDRAWAL                             SCHROETER, GOLDMARK & BENDER
     AND SUBSTITUTION OF COUNSEL - 1                        500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     (Case No. CR14-059 RSL)                                                      (206) 622-8000
         Case 2:14-cr-00059-RSL          Document 98         Filed 07/15/14                Page 2 of 2




 1
            All further district court filings, papers, pleadings, court documents, and correspondence
 2
     in this matter, exclusive of service of process, shall be served upon Defendant Solis-Santos by
 3
     leaving a copy thereof with defense counsel at Schroeter, Goldmark & Bender.
 4
            DATED this 15th day of July, 2014.
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 7                                                         A
                                                           Robert S. Lasnik
 8                                                         United States District Judge
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10   Presented by:
11   SCHROETER, GOLDMARK & BENDER
12   By: s/ Jeffery Robinson
        JEFFERY ROBINSON, WSBA #11950
13      JOSEPH CAMPAGNA, WSBA #40263
     Substituting Attorney for Defendant Solis-Santos
14

15   s/ Michael C. Nance
     MICHAEL C. NANCE, WSBA #13933
16   Withdrawing Attorney for Defendant Solis-Santos
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     ORDER GRANTING WITHDRAWAL                                 SCHROETER, GOLDMARK & BENDER
     AND SUBSTITUTION OF COUNSEL - 2                            500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     (Case No. CR14-059 RSL)                                                          (206) 622-8000
